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1                         DECLARATION OF STEPHEN J. JOBE

2         I, Stephen J. Jobe, Unit Chief, Legal Forfeiture Unit (LFU),

3    Office of the General Counsel, Federal Bureau of Investigation (FBI)

4    in Washington, D.C., state as follows:

5         1.    I am currently employed as Unit Chief of the Legal

6    Forfeiture Unit, Office of the General Counsel, at FBI Headquarters

7    in Washington, D.C., and in that capacity am familiar with the

8    administrative forfeiture proceedings relating to property seized by

9    the FBI.
10        2.    In my capacity as Unit Chief, I am responsible for
11   providing legal oversight of the FBI’s forfeiture program, reviewing
12   non-judicial administrative forfeiture actions for legal sufficiency,
13   executing declarations of forfeiture in administrative forfeiture
14   actions determined to be legally sufficient, and ensuring that the
15   FBI’s forfeiture program complies with all pertinent statutes and
16   federal regulations.
17        3.    Pursuant to Title 18, United States Code (U.S.C.), Section
18   983, in all non-judicial forfeiture proceedings, the Government is

19   required to send written notice of the seizure and intent to forfeit

20   the property to interested parties no more than sixty days after the

21   date of seizure of the property subject to forfeiture. If the

22   identity or interest of a party is not determined until after the

23   seizure but is determined before a declaration of forfeiture is

24   entered, the Government must send notice of the forfeiture action to

25   the interested party not later than sixty days after the

26   determination by the Government of the identity of the party or the

27   party’s interest. 18 U.S.C. Section 983(a)(1)(A)(v). The forfeiture

28   notice advises that to contest the forfeiture of the property in

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1    United States District Court, a party must file a valid and timely

2    claim.

3         4.    Title 18 U.S.C. Section 983(a)(2) requires that a claim to

4    contest a forfeiture in non-judicial forfeiture proceedings must

5    identify the specific property being claimed; state the claimant’s

6    interest in such property; and be made under oath subject to penalty

7    of perjury. Title 28, Code of Federal Regulations (C.F.R.), Section

8    8.10(b) requires that a claim must identify the specific property

9    being claimed; identify the claimant and state the claimant’s
10   interest in the property; and be made under oath by the claimant, not
11   counsel for the claimant, and recite that it is made subject to
12   penalty of perjury, consistent with the requirements of 28 U.S.C.
13   Section 1746.
14        5.   Consistent with 28 C.F.R. Section 8.10(g), if the FBI
15   determines that a timely claim does not meet the requirements of 28
16   C.F.R. Section 8.10(b), the FBI will notify the claimant of the
17   determination and will allow the claimant a reasonable time to cure
18   the defect(s) in the intended claim. If the claimant timely cures the

19   deficiency, the FBI will refer the claim to the United States

20   Attorney’s Office for judicial forfeiture proceedings, and the

21   administrative forfeiture proceeding ceases. If the requirements of

22   28 C.F.R. Section 8.10(b) are not met within the allowed time, the

23   claim is void and the FBI will continue administrative forfeiture

24   proceedings as if no claim was filed.

25        6.   The claim deadline has not yet expired. The claim deadline

26   for parties to whom personal notice was mailed is the date stated in

27   the notice letters. The earliest claim deadline set forth in personal

28   notice is June 24, 2021. The claim deadlines for other unidentified

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  1   parties   who have not received       written    notice    by personal      letter are

  2   the deadlines   set forth    in the internet          publications    at

  3   www.forfeiture.gov.   The earliest       deadline       set forth by the internet

  4   publication   is August    3, 2021.

  5        Pursuant   to Title    28, United       States    Code,    Section    1746, I

  6   declare   under penalty    of perjury    that the foregoing          is true and

  7   correct   and that this declaration          is executed       on June ~     2021 in

  8   Washington,   D.C.

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